Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 1 of 18 Page ID #:1




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 8 Counsel for Plaintiffs
 9
10                       UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
12
   JODI FLOTH, and VERONICA                Case No.
13 ESHELBY on behalf of themselves and
                                           CLASS ACTION
14 all others similarly situated,
                                            COMPLAINT
15                        Plaintiffs,       1. Breach of Express Warranty
           v.                               2. Breach of Implied Warranty
16
                                            3. Violation of Consumer Legal
17 TOO FACED COSMETICS, LLC,                   Remedies Act
18                                          4. Violation of False Advertising
                          Defendant.
                                               Law
19                                          5. Violation of Unlawful Prong of the
20                                             Unfair Competition Law
                                            6. Violation of the Fraudulent Prong
21                                             of the Unfair Competition Law
22                                          7. Violation of the Unfair Prong of
                                               the Unfair Competition Law
23
                                            JURY TRIAL DEMANDED
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     CLASS ACTION COMPLAINT
     Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 2 of 18 Page ID #:2




 1            Plaintiffs Jodi Floth and Veronica Eshelby (“Plaintiffs”) allege the following:
 2                                    NATURE OF ACTION
 3
              1.     This is a prospective class action against Too Faced Cosmetics, LLC
 4
        (“Defendant”) for representing that Defendant’s Better Than Sex Mascara product
 5
        (the “Product”) claim has 1,944% more volume (the “Claim”). As alleged in the
 6
        complaint, this claim, set forth on the product packaging is false and misleading.
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        CLASS ACTION COMPLAINT                                                               1
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 3 of 18 Page ID #:3




 1         2.      Defendant’s dissemination of the Claim to California consumers
 2   constitutes violations of California’s False Advertising law (“FAL”), the unfair,
 3   unlawful and fraudulent prongs of the Unfair Competition Law (“UCL”), and
 4   Consumer Legal Remedies Act (“CLRA”), as well as breaches of express and
 5   implied warranties. Essentially, the Product does not produce the level of volume
 6   promised.
 7         3.      As a result of Defendant’s false and misleading advertising claims and
 8   marketing practices, Plaintiffs and the class members induced into purchasing and paid
 9   a substantial premium for Better Than Sex Mascara because they were deceived into
10   believing that they were purchasing a product that would provide them with twenty
11   times more volume. As a result, Plaintiffs and the class members were injured in fact
12   and suffered ascertainable and out-of-pocket losses.
13
                                         THE PARTIES
14
           4.      Plaintiff Jodi Floth is a resident of Stanislaus County, California. She
15
     purchased Better Than Sex Mascara on two occasions most recently, at a Sephora
16
     retail location in Modesto, California in approximately September 2017. The Product
17
     did not provide 1,944% more volume as advertised. The Product produced volume
18
     comparable to competitor products that do not make the 1,944% Claim and sell for
19
     less than half the price. Plaintiff Floth would not have purchased the product if she
20
     knew that the 1,944% Claim was false and misleading.
21

22         5.      Veronica Eshelby is a resident of Orange County, California. She
23   purchased the Better Than Sex Mascara at a Target retail location in Irvine in
24   approximately October 2016. The Product did not provide 1,944% more volume as
25   advertised. The Product produced volume comparable to competitor products that
26   do not make the 1,944% Claim and sell for less than half the price. She would not
27   have purchased the Product if she knew that the 1,944% claim was false and
28   misleading.

     CLASS ACTION COMPLAINT                                                               2
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 4 of 18 Page ID #:4




 1         6.     Too Faced Cosmetics, LLC is a Delaware limited liability company
 2   with its principal place of business at 18231 McDurmott West, Irvine, California
 3   92614.
 4
                               JURISDICTION AND VENUE
 5
           7.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §
 6
     1332(d) because there are more than 100 Class Members, the aggregate amount in
 7
     controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs.
 8
           8.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
 9
     Defendant maintains its principal business in Orange County.
10
                                 FACTUAL ALLEGATIONS
11
     A.    The Marketing and Sale of the Product
12
           9.     Mascara uses pigments, oils, waxes,
13
     and preservatives to enhance eyelashes. Mascara
14
     production is a thriving industry that was worth
15
     $335.6 million in 2016. Into this lucrative
16
     market, Better Than Sex Mascara was launched.
17
           10.    The product label promises
18
     consumers that Better Than Sex mascara will
19
     provide “1,944% more volume.”
20
           11.    In addition, in its marketing and
21
     advertising materials for the Product, including
22
     but not limited to its website and YouTube
23
     channel, Defendant repeats and reinforces the
24
     1,944% Claim.
25
           12.    Defendant has made and or continues to make the following
26
     representations about the Better Than Sex Mascara product in support of the 1,944%
27
     Claim on the packaging:
28

     CLASS ACTION COMPLAINT                                                               3
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 5 of 18 Page ID #:5




 1                    a. “1,944% more volume!* … *results observed in a clinical study.
 2                    b. “Don’t miss out on the mind-blowing mascara that gives your
 3                       lashes 1,944% more volume.”
 4                    c. “Too Faces Better Than Sex Waterproof Mascara is a sweat-
 5                       proof, waterproof, play-proof mascara that gives you 1,944%
 6                       more volume.** … **clinical study results”
 7         13.    Defendant charges a substantial premium for the Product. A .027 oz.
 8   bottle of the Product sells for $23.00 at retail, while a 0.17 oz bottle sells for
 9   approximately $20.00. Comparable competitor’s products that do not make the
10   1,944% Claim cost less than half as much as Better Than Sex Mascara.
11         14.    In 2017, the National Advertising Division of the Better Business
12   Bureau (NAD) commenced an investigation of Two Faced, amid allegations that the
13   1,944% claim was false and misleading, the NAD recommended that Defendant
14   discontinue the 1,944% claim.
15         15.    In response to the NAD’s findings, Defendant stated that it would not
16   agree to discontinue the 1,944% claim, but would stop making reference to clinical
17   studies. Defendant further represented in writing that it would permanently
18   discontinue an online Home Shopping Network (“HSN”) video concerning the
19   1,944%. See https://hsnnow.hsn.com/v/too-faced-better-than-sex-mascara-
20   mp4/99050318/ (“HSN Video”).
21         16.    The HSN video includes false, misleading and self-described “crazy”
22   claims concerning a 1,944% increase in volume from using Better than Sex Mascara,
23   repeated over and over.       Highlights of the HSN Video include the following
24   exchanges:
25         HSN Host:            This has got a claim on it that I have never in my life in my
26                              career heard any other mascara say…
27

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     CLASS ACTION COMPLAINT                                                               4
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 6 of 18 Page ID #:6




 1        Too Faced Rep:       Isn’t it crazy? 1,944%! This is a study of 40 women after 3
 2                             coats of Better Than Sex, that is the percentage, 1,944%
 3                             improvement in the appearance. It’s an incredible claim.
 4   HSN Video at 0:35-057.
 5                                                 ***
 6

 7

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 9        HSN Host:            1,944% improvement in the appearance of your lashes,
10                             that’s crazy, I’ve never seen that number, that statistic. And
11                             we don’t just pull that out of thin air.
12        Too Faced Rep:       No, we do it in the lab… and we do study after study. …
13                             That is truth it is 1,944%. It’s crazy, but its true.
14   HSN Video at 4:45-5:10.
15                                             ***
16        HSN Host:            There is simply no other mascara in the world that can say
17                             1,944% improvement in the look of your lashes. It’s crazy!
18        Too Faced Rep:       Absolutely!
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     CLASS ACTION COMPLAINT                                                               5
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 7 of 18 Page ID #:7




 1   HSN Video at 6:03-6:16.
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        Caption: HSN Video Screen Shot at 1:37
14
            17.    Defendants has failed to live up to its written promise to permanently
15
     discontinue the HSN Video.
16
            18.    On November 28, 2017, Plaintiffs sent Defendant a CLRA pre-suit
17
     notice letter. Defendant never responded to the letter. Defendants did not respond to
18
     the letter.
19
            19.    As of April 20, 2018, that video remains featured on the HSN website.
20
     See https://hsnnow.hsn.com/v/too-faced-better-than-sex-mascara-mp4/99050318/.
21
     On April 20, 2018, the National Advertising Review Board, the Appellate unit of the
22
     NAD affirmed the 2017 decision. In response, the Company did not indicate that it
23
     would recall the products.
24
                              CLASS ACTION ALLEGATIONS
25
            20.    Plaintiffs bring this action as a class action under Federal Rule of Civil
26
     Procedure 23 on behalf of a Class consisting of all persons in the United States who,
27
     within the relevant statute of limitations period, purchased Better Than Sex Mascara.
28

     CLASS ACTION COMPLAINT                                                                 6
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 8 of 18 Page ID #:8




 1         21.     Plaintiffs also seek to represent a subclass defined as all members of the
 2   Class who purchased Better Than Sex Mascara in California (“the California
 3   Subclass”).
 4         22.     The Class is so numerous that joinder of all members is impractical.
 5   Although Plaintiffs do not yet know the exact size of the Class, the Product is sold in
 6   major retail stores across the State, including stores such as Target and Sephora. On
 7   information and belief, the Class includes more than one hundred thousand members.
 8         23.     The Class is ascertainable because the Class Members can be identified
 9   by objective criteria – the purchase of Better Than Sex Mascara during the Class
10   Period. Individual notice can be provided to Class Members “who can be identified
11   through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).
12         24.     There are numerous questions of law and fact common to the Class
13   which predominate over individual actions or issues, including but not limited to:
14                 (a)   Whether Defendant breached an express warranty made to
15                       Plaintiffs and the Class;
16                 (b)   Whether Defendant breached the implied warranty of fitness for a
17                       particular purpose;
18                 (c)   Whether Defendant’s product packaging and marketing of the
19                       Product is false, misleading, and/or deceptive;
20                 (d)   Whether Defendant’s marketing of the Product is an unfair
21                       business practice;
22                 (e)   Whether the Product name is false and misleading;
23                 (f)   Whether Defendant was unjustly enriched by its conduct;
24                 (g)   Whether Defendant violated the CLRA;
25                 (h)   Whether Defendant violated the UCL;
26                 (i)   Whether Defendant violated the FAL;
27                 (j)   Whether Class Members suffered an ascertainable loss as a result
28                       of Defendant’s misrepresentations; and
     CLASS ACTION COMPLAINT                                                               7
 Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 9 of 18 Page ID #:9




 1                (k)     Whether, as a result of Defendant’s misconduct as alleged herein,
 2                        Plaintiffs and the Class Members are entitled to restitution,
 3                        injunctive and/or monetary relief and, if so, the amount and
 4                        nature of such relief.
 5         25.    Plaintiffs’ claims are typical of the claims of the members of the Class
 6   as all members of the Class are similarly affected by Defendant’s wrongful conduct.
 7   Plaintiffs have no interests antagonistic to the interests of the other members of the
 8   Class. Plaintiffs and all members of the Class have sustained economic injury
 9   arising out of Defendant’s violations of common and statutory law as alleged herein.
10         26.    Plaintiffs are adequate representatives of the Class because their
11   interests do not conflict with the interests of the Class Members they seek to
12   represent, they have retained counsel competent and experienced in prosecuting class
13   actions, and they intend to prosecute this action vigorously. The interests of the
14   Class Members will be fairly and adequately protected by Plaintiffs and their
15   counsel.
16         27.    The class mechanism is superior to other available means for the fair
17   and efficient adjudication of the claims of Plaintiffs and the Class Members.
18
19                                    First Cause of Action
20                                Breach of Express Warranty
21                       By All Class Members Against All Defendants
22         28.    Plaintiffs repeat the allegations contained in the paragraphs above as if
23   fully set forth herein.
24         29.    Plaintiffs bring this Count individually and on behalf of the members of
25   the Class.
26         30.    In connection with the sale of Better Than Sex Mascara, Defendant
27   issued express warranties including that Better Than Sex Mascara provided 1,944%
28   more volume.
     CLASS ACTION COMPLAINT                                                               8
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 10 of 18 Page ID #:10




 1         31.    Defendant’s affirmations of fact and promises made to Plaintiffs and the
 2   Class on Better Than Sex Mascara, which was bolstered by Defendant’s advertising
 3   and public statements, became part of the basis of the bargain between Defendant on
 4   the one hand, and Plaintiffs and the Class Members on the other, thereby creating
 5   express warranties that Better Than Sex Mascara would conform to Defendant’s
 6   affirmations of fact, representations, promises, and descriptions.
 7         32.    Defendant breached its express warranties because Better Than Sex
 8   Mascara does not provide 1,944% more volume.
 9         33.    Plaintiffs and the Class Members were injured as a direct and proximate
10   result of Defendant’s breach because: (a) they would not have purchased Better Than
11   Sex Mascara if they had known the true facts; (b) they paid a premium for Better
12   Than Sex Mascara due to the mislabeling; and (c) Better Than Sex Mascara did not
13   have the quality, effectiveness, or value as promised.
14
                                    Second Cause of Action
15
              Breach of Implied Warranty of Fitness for a Particular Purpose
16
                         By All Class Members Against All Defendants
17
           34.    Plaintiffs repeat the allegations contained in the paragraphs above as if
18
     fully set forth herein.
19
           35.    Plaintiffs bring this Count individually and on behalf of the members of
20
     the Class.
21
           36.    Defendant marketed, distributed, and/or sold Better Than Sex Mascara
22
     with implied warranties that they were fit for the particular purpose of providing
23
     1,944% more volume.
24
           37.    In reliance on Defendant’s skill and judgment and the implied
25
     warranties of fitness for the purpose, Plaintiffs and the Class Members purchased
26
     Better Than Sex Mascara.
27
           38.    Plaintiffs and the Class Members were injured as a direct and proximate
28
     result of the breach because: (a) they would not have purchased Better Than Sex
     CLASS ACTION COMPLAINT                                                               9
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 11 of 18 Page ID #:11




 1   Mascara if the true efficacy had been known; (b) they paid an increased price for
 2   Better Than Sex Mascara based on Defendant’s representations regarding the
 3   mascara’s properties and efficacy; and (c) Better Than Sex Mascara did not have the
 4   characteristics, uses, or benefits as promised. As a result, Plaintiffs and the Class
 5   Members have been damaged.
 6                                   Third Cause of Action
 7                      Violation of the Consumer Legal Remedies Act
 8                        By California Class Against All Defendants
 9         39.    Plaintiffs repeat the allegations contained in the paragraphs above as if
10   fully set forth herein.
11         40.    Plaintiffs bring this Count individually and on behalf of the California
12   Subclass.
13         41.    Plaintiffs and the California Class Members are consumers who
14   purchased Better Than Sex Mascara for personal, family, or household purposes.
15   Accordingly, Plaintiffs and the California Class Members are “consumers” as that
16   term is defined by the CLRA in Cal. Civ. Code § 1761(d). Plaintiffs and the
17   California Class Members are not sophisticated experts with independent knowledge
18   of the formulation or efficacy of Better Than Sex Mascara.
19         42.    At all relevant times, Better Than Sex Mascara constituted a “good” as
20   that term is defined in Cal. Civ. Code § 1761(a).
21         43.    At all relevant times, Defendant was a “person” as that term is defined
22   in Civ. Code § 1761(c).
23         44.    At all relevant times, Plaintiffs’ purchase of Better Than Sex Mascara,
24   and the purchases of Better Than Sex Mascara by other Class Members, constituted
25   “transactions” as that term is defined in Cal. Civ. Code § 1761(e). Defendant’s
26   actions, representations, and conduct has violated, and continues to violate the
27   CLRA, because they extend to transactions that intended to result, or which have
28   resulted in, the sale of Better Than Sex Mascara to consumers.
     CLASS ACTION COMPLAINT                                                                  10
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 12 of 18 Page ID #:12




 1         45.    The policies, acts, and practices described in this Complaint were
 2   intended to and did result in the sale of Better Than Sex Mascara to Plaintiffs and the
 3   Class. Defendant’s practices, acts, policies, and course of conduct violated the
 4   CLRA §1750 et seq. as described above.
 5         46.    Defendant represented that Better Than Sex Mascara had sponsorship,
 6   approval, characteristics, uses, and benefits which it did not have in violation of Cal.
 7   Civ. Code § 1770(a)(5).
 8         47.    Defendant represented that Better Than Sex Mascara was of a particular
 9   standard, quality, and grade, when it was another, in violation of California Civil
10   Code § 1770(a)(7).
11         48.    Defendant violated California Civil Code §§ 1770(a)(5) and (a)(7) by
12   representing that Better Than Sex Mascara provided 1,944% more volume, when it
13   did and does not.
14         49.    Defendant advertised Better Than Sex Mascara with the intent not to
15   sell it as advertised in violation of § 1770(a)(9) of the CLRA since the Better Than
16   Sex Mascara does not provide 1,944% more volume.
17         50.    Plaintiffs and the Class Members suffered injuries caused by
18   Defendant’s misrepresentations because: (a) Plaintiffs and the Class Members would
19   not have purchased Better Than Sex Mascara if they had known the true facts; (b)
20   Plaintiffs and the Class paid an increased price for Better Than Sex Mascara due to
21   the mislabeling of Better Than Sex Mascara; and (c) Better Than Sex Mascara did
22   not have the level of quality, effectiveness, or value as promised.
23         51.    Prior to the filing of this Complaint, a CLRA notice letter was served on
24   Defendant which complies in all respects with California Civil Code § 1782(a).
25   Defendant did not respond to the letter.
26         52.    Wherefore, Plaintiffs seeks damages, restitution, and injunctive relief
27   for this violation of the CLRA.
28

     CLASS ACTION COMPLAINT                                                                11
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 13 of 18 Page ID #:13




 1                                    Fourth Cause of Action
 2                             Violation of the False Advertising Law
 3                        By California Class Against All Defendants
 4          53.     Plaintiffs repeat the allegations contained in the paragraphs above as if
 5   fully set forth herein.
 6          54.     Plaintiffs bring this Count individually and on behalf of the California
 7   Subclass.
 8          55.     California’s FAL (Bus. & Prof. Code §§17500, et seq.) makes it
 9   “unlawful for any person to make or disseminate or cause to be made or
10   disseminated before the public in this state, . . . in any advertising device . . . or in
11   any other manner or means whatever, including over the Internet, any statement,
12   concerning . . . personal property or services, professional or otherwise, or
13   performance or disposition thereof, which is untrue or misleading and which is
14   known, or which by the exercise of reasonable care should be known, to be untrue or
15   misleading.”
16          56.     Throughout the Class Period, Defendant committed acts of false
17   advertising, as defined by the FAL, by using false and misleading statements to
18   promote the sale of Better Than Sex Mascara, as described above, and including, but
19   not limited to, representing that Better Than Sex Mascara provided 1,944% more
20   volume.
21          57.     Defendant knew or should have known, through the exercise of
22   reasonable care, that their statements were untrue and misleading.
23          58.     Defendant’s actions in violation of the FAL were false and misleading
24   such that the general public is and was likely to be deceived.
25          59.     As a direct and proximate result of these acts, consumers have been and
26   are being harmed. Plaintiffs and members of the Class have suffered injury and
27   actual out-of-pocket losses as a result of Defendant’s FAL violation because: (a)
28   Plaintiffs and the Class would not have purchased Better Than Sex Mascara if they
     CLASS ACTION COMPLAINT                                                                      12
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 14 of 18 Page ID #:14




 1   had known the true facts regarding the effectiveness of Better Than Sex Mascara; (b)
 2   Plaintiffs and the Class paid an increased price due to the misrepresentations about
 3   Better Than Sex Mascara; and (c) Better Than Sex Mascara did not have the
 4   promised quality, effectiveness, or value.
 5          60.    Plaintiffs bring this action pursuant to Bus. & Prof. Code § 17535 for
 6   injunctive relief to enjoin the practices described herein and to require Defendant to
 7   issue corrective disclosures to consumers. Plaintiffs and the California Class are
 8   therefore entitled to: (a) an order requiring Defendant to cease the acts of unfair
 9   competition alleged herein; (b) full restitution of all monies paid to Defendant as a
10   result of their deceptive practices; (c) interest at the highest rate allowable by law;
11   and (d) the payment of Plaintiffs’ attorneys’ fees and costs pursuant to, inter alia,
12   California Code of Civil Procedure §1021.5.
13                                    Fifth Cause of Action
14           Violation of the “Unlawful Prong” of the Unfair Competition Law
15                        By California Class Against All Defendants
16          61.    Plaintiffs repeat the allegations contained in the paragraphs above as if
17   fully set forth herein.
18          62.    Plaintiffs bring this Count on behalf of the California Subclass.
19          63.    The UCL, Bus. & Prof. Code § 17200 et seq., provides, in pertinent
20   part: “Unfair competition shall mean and include unlawful, unfair or fraudulent
21   business practices and unfair, deceptive, untrue or misleading advertising ….” The
22   UCL also provides for injunctive relief and restitution for UCL violations.
23          64.    “By proscribing any unlawful business practice, section 17200 borrows
24   violations of other laws and treats them as unlawful practices that the UCL makes
25   independently actionable.” Cel-Tech Communications, Inc. v. Los Angeles Cellular
26   Telephone Co., 20 Cal. 4th 163, 180 (1999) (citations and internal quotation marks
27   omitted).
28

     CLASS ACTION COMPLAINT                                                                  13
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 15 of 18 Page ID #:15




 1         65.    Virtually any law or regulation – federal or state, statutory, or common
 2   law – can serve as a predicate for an UCL “unlawful” violation. Klein v. Chevron
 3   U.S.A., Inc., 202 Cal. App. 4th 1342, 1383 (2012).
 4         66.    Defendant violated the “unlawful prong” by violating the CLRA, and
 5   the FAL, as well as by breaching express and implied warranties as described herein.
 6         67.    As a direct and proximate result of these acts, consumers have been and
 7   are being harmed. Plaintiffs and members of the Class have suffered injury and
 8   actual out-of-pocket losses as a result of Defendant’s UCL “unlawful prong”
 9   violation because: (a) Plaintiffs and the Class would not have purchased Better Than
10   Sex Mascara if they had known the true facts regarding the effectiveness and
11   contents of Better Than Sex Mascara; (b) Plaintiffs and the Class paid an increased
12   price due to the misrepresentations about Better Than Sex Mascara; and (c) Better
13   Than Sex Mascara did not have the promised quality, effectiveness, or value.
14         68.    Pursuant to Bus. & Prof. Code §17203, Plaintiffs and the California
15   Class are therefore entitled to: (a) an order requiring Defendant to cease the acts of
16   unfair competition alleged herein; (b) full restitution of all monies paid to Defendant
17   as a result of their deceptive practices; (c) interest at the highest rate allowable by
18   law; and (d) attorneys’ fees and costs pursuant to Code of Civil Procedure §1021.5.
19

20                                    Sixth Cause of Action
21          Violation of the “Fraudulent Prong” of the Unfair Competition Law
22                        By California Class Against All Defendants
23
           69.    Plaintiffs repeat the allegations contained in the paragraphs above as if
24
     fully set forth herein.
25
           70.    Plaintiffs bring this Count on behalf of the California Subclass.
26
           71.    The UCL, Bus. & Prof. Code § 17200 et seq., provides, in pertinent
27
     part: “Unfair competition shall mean and include unlawful, unfair or fraudulent
28
     business practices and unfair, deceptive, untrue or misleading advertising ….”
     CLASS ACTION COMPLAINT                                                                    14
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 16 of 18 Page ID #:16




 1         72.    Defendant’s conduct, described herein, violated the “fraudulent” prong
 2   of the UCL because Defendant expressly and impliedly represented that Better Than
 3   Sex Mascara provided 1,944% more volume. Plaintiffs and the California Class
 4   Members are not sophisticated experts with independent knowledge of the
 5   formulation or efficacy of Better Than Sex Mascara, and they acted reasonably when
 6   they purchased Better Than Sex Mascara based on their belief that Defendant’s
 7   express and implied representations were true.
 8         73.    Defendant knew or should have known, through the exercise of
 9   reasonable care, that their representations about Better Than Sex Mascara were
10   untrue and misleading.
11         74.    As a direct and proximate result of these acts, consumers have been and
12   are being harmed. Plaintiffs and members of the Class have suffered injury and
13   actual out-of-pocket losses as a result of Defendant’s UCL “fraudulent prong”
14   violation because: (a) Plaintiffs and the Class would not have purchased Better Than
15   Sex Mascara if they had known the true facts regarding the effectiveness of Better
16   Than Sex Mascara; (b) Plaintiffs and the Class paid an increased price due to the
17   misrepresentations about Better Than Sex Mascara; and (c) Better Than Sex Mascara
18   did not have the promised quality, effectiveness, or value.
19         75.    Pursuant to Bus. & Prof. Code §17203, Plaintiffs and the California
20   Class are therefore entitled to: (a) an order requiring Defendant to cease the acts of
21   unfair competition alleged herein; (b) full restitution of all monies paid to Defendant
22   as a result of their deceptive practices; (c) interest at the highest rate allowable by
23   law; and (d) the payment of Plaintiffs’ attorneys’ fees and costs pursuant to, inter
24   alia, California Code of Civil Procedure §1021.5.
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     CLASS ACTION COMPLAINT                                                                    15
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 17 of 18 Page ID #:17




 1                                 Seventh Cause of Action
 2             Violation of the “Unfair Prong” of the Unfair Competition Law
 3                        By California Class Against All Defendants
 4         76.    Plaintiffs repeats the allegations contained in the paragraphs above as if
 5   fully set forth herein.
 6         77.    Plaintiffs bring this Count on behalf of the California Subclass.
 7         78.    The UCL, Bus. & Prof. Code § 17200 et seq., provides, in pertinent
 8   part: “Unfair competition shall mean and include unlawful, unfair or fraudulent
 9   business practices and unfair, deceptive, untrue or misleading advertising ….”
10         79.    Defendant’s misrepresentations and other conduct, described herein,
11   violated the “unfair” prong of the UCL in that their conduct is substantially injurious
12   to consumers, offends public policy, and is immoral, unethical, oppressive, and
13   unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
14   Defendant’s conduct is unfair in that the harm to Plaintiffs and the Class arising from
15   Defendant’s conduct outweighs the utility, if any, of those practices.
16         80.    Defendant’s practices as described herein are of no benefit to consumers
17   who are tricked into believing Better Than Sex Mascara provides 1,944% more
18   volume.
19         81.    As a direct and proximate result of these acts, consumers have been and
20   are being harmed. Plaintiffs and members of the Class have suffered injury and
21   actual out-of-pocket losses as a result of Defendant’s UCL “unfair prong” violation
22   because: (a) Plaintiffs and the Class would not have purchased Better Than Sex
23   Mascara if they had known the true facts regarding the effectiveness and contents of
24   Better Than Sex Mascara; (b) Plaintiffs and the Class paid an increased price due to
25   the misrepresentations about Better Than Sex Mascara; and (c) Better Than Sex
26   Mascara did not have the promised quality, effectiveness, or value.
27         82.    Pursuant to Bus. & Prof. Code §17203, Plaintiffs, and the California
28   Class are therefore entitled to: (a) an order requiring Defendant to cease the acts of
     CLASS ACTION COMPLAINT                                                               16
Case 8:18-cv-00707-JVS-JC Document 1 Filed 04/25/18 Page 18 of 18 Page ID #:18




 1   unfair competition alleged herein; (b) full restitution of all monies paid to Defendant
 2   as a result of their deceptive practices; (c) interest at the highest rate allowable by
 3   law; and (d) the payment of Plaintiffs’ attorneys’ fees and costs pursuant to, inter
 4   alia, California Code of Civil Procedure §1021.5.
 5

 6         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
 7         A.     Determining that this action is a proper class action;
 8         B.     For an order declaring that the Defendant’s conduct violates the statutes
 9   referenced herein;
10         C.     Awarding compensatory and punitive damages in favor of Plaintiffs,
11   members of the Class, and the California Class against Defendant for all damages
12   sustained as a result of the Defendant’s wrongdoing, in an amount to be proven at
13   trial, including interest thereon;
14         D.      Awarding injunctive relief against Defendant to prevent Defendant
15   from continuing their ongoing unfair, unconscionable, and/or deceptive acts and
16   practices;
17         E.     For an order of restitution and/or disgorgement and all other forms of
18   equitable monetary relief;
19         F.     Awarding Plaintiffs and members the Class their reasonable costs and
20   expenses incurred in this action, including counsel fees and expert fees; and
21         G.     Awarding such other and further relief as the Court may deem just and
22   proper.
23                                        JURY DEMAND
24         Plaintiffs hereby demand a trial by jury on all claims so triable in this action.
25   Dated: April 20, 2018                                 FRONTIER LAW CENTER
26
27                                                         /s/ Adam Rose
28                                                          Attorney for Plaintiffs

     CLASS ACTION COMPLAINT                                                                    17
